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   IT IS ORDERED as set forth below:



   Date: November 2, 2018
                                                    _________________________________

                                                               Sage M. Sigler
                                                        U.S. Bankruptcy Court Judge

  ________________________________________________________________




                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

  IN RE:
                                                 CHAPTER 11
  AMERICAN UNDERWRITING
  SERVICES, LLC.,                                CASE NO. 18-58406

        Debtor.


     ORDER GRANTING FINAL APPLICATION FOR COMPENSATION
   FOR GGG PARTNERS LLC AS CHIEF RESTRUCTURING OFFICER FOR
              DEBTORS AND DEBTORS-IN-POSSESSION

       This matter came before the Court on October 10, 2018, on the Final Application

 for Compensation for GGG Partners, LLC (“Applicant”) as Chief Restructuring Officer

 for Debtors and Debtors-in-Possession (the “Final Application”) (Doc. No. 94) seeking an

 Order approving the fees and expenses requested in the Final Application.




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        The Court has considered the Final Application as supplemented by the Notice of

 Filing of Amended Invoice and Backup Detail to Final Application for Compensation of

 Chief Restructuring Officer (Docket No. 148) (the “Supplement”) filed on October 1, 2018.

 It appears that the Court has jurisdiction over this matter; that it is a core proceeding; that

 the Final Application and Supplement were served on the Chapter 7 Trustee and the United

 States Trustee (the “Served Parties”); that due and proper notice of the Application has

 been provided to creditors and parties and interest herein; that Debtor was previously

 authorized by an order of the Court dated July 27, 2018 to retain Applicant (Doc. No. 99);

 that written objections to the Application were filed by (1) the Office of the United States

 Trustee, (2) S. Gregory Hays, the Chapter 7 Trustee, and (3) ProSight Specialty

 Management Company and New York Marine and General Insurance Company

 (collectively the “Objections”); that the Objections have been either resolved among the

 parties, withdrawn or overruled by the Court and the Final Application meets the standards

 for the compensation of professional in this case; it is hereby

        ORDERED that Applicant’s fees in the sum of $36,960 and expenses in the amount

 of $247.27 incurred by Applicant during the time period from May 19, 2018 through and

 including June 29, 2018, being a total amount of $37,207, are hereby allowed and awarded

 on a final basis as Chapter 11 administrative expenses; and it is

        FURTHER ORDERED that Applicant is authorized to draw down the remaining

 retainer held by it in the amount of $20,000 (the “Retainer”) to pay its approved


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 compensation and expenses; provided, however, that (a) the Retainer shall remain subject to

 avoidance as a fraudulent conveyance or similar claim by either the Trustee or a party with standing

 to assert such claim and the authority to draw down such Retainer shall be without prejudice to

 such claims; (b) the Retainer shall remain subject to tracing or other claims related to claims that

 the Retainer constitutes trust funds which may be recovered by the Trustee or any creditor with

 standing to assert such claims; and (c) Applicant shall not cite this Court’s authorization to draw

 down the Retainer as a defense or justification to any fraudulent conveyance, tracing or similar

 action which may be brought against Applicant to recover the Retainer; and it is

        FURTHER ORDERED, that other than the authorization to draw down the

 Retainer, no further payments shall be made to Applicant unless and until the Trustee

 makes distributions to holders of allowed administrative expenses claims against the

 Debtor’s Chapter 11 Bankruptcy Estate.

                                    (END OF DOCUMENT)

 Prepared and Presented by:

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